               Case 24-30222 Document 23 Filed in TXSB on 03/05/24 Page 1 of 3


                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                              HOUSTON DIVISION

    In Re: Donnata Evan Ford                                                                       Case No: 24-30222-H3-13
            Debtor(s)


                    TRUSTEE'S OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN
                                             AND
                          MOTION TO DISMISS OR CONVERT TO CHAPTER 7


THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE THE MOTION, YOU
SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST
FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON YOU. YOUR
RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES
AGREE OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
MOTION AT THE HEARING. If a response is filed, a hearing on this motion will be held at 3:00 pm on Monday, April 8,
2024 at the U.S. Courthouse, 515 Rusk, Courtroom # 402.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

         Tiffany D. Castro, Trustee, objects to Confirmation of Chapter 13 Plan and moves to dismiss the case or convert it
to one under Chapter 7 pursuant to Fed. R. Bankr. P. 1017 and Local Bankruptcy Rule 1017-2, and would show the Court
that the plan does not meet the requirements for confirmation and thus constitutes grounds for dismissal for the following
reasons:

THERE WILL BE A HEARING ON THIS MOTION ON APRIL08, 2024 AT 3:00 pm at the U.S. Courthouse, 515 Rusk,
Courtroom # 402. YOU MAY ATTEND VIRTUALLY OR IN PERSON. TO ATTEND VIRTUALLY, YOU MUST CONNECT BY
SEPARATE AUDIO AND VIDEO CONNECTIONS. THE AUDIO CONNECTION IS 832-917-1510. THE CODE IS 999276. THE
VIDEO CONNECTION IS AT gotomeeting.com. THE CODE IS JudgeRodriguez.



   1.   Debtor failed to provide proof to substantiate the amounts to be paid to a creditor through the Plan for which no
        claim has been filed and Trustee must disburse according to plan.


   2.   Debtor failed to provide documentation supporting the expenses reflected on Schedules J.
                Case 24-30222 Document 23 Filed in TXSB on 03/05/24 Page 2 of 3



     For these reasons, Trustee prays that the Court deny confirmation of the plan and dismiss the case.

                                                                                   RESPECTFULLY SUBMITTED,

                                                                                    /s/ Tiffany D. Castro
                                                                                   TIFFANY D. CASTRO, TRUSTEE
                                                                                   ADMISSIONS ID NO. 24052172
                                                                                   ADDRESS FOR CORRESPONDENCE ONLY:
                                                                                   9821 KATY FREEWAY, SUITE 590
                                                                                   HOUSTON, TX 77024
                                                                                   (713) 722-1200 TELEPHONE
                                                                                   (713) 722-1211 FACSIMILE
                                                                                   ADDRESS FOR PAYMENTS ONLY:
                                                                                   P.O. BOX 740
                                                                                   MEMPHIS, TN 38101-0740



                                                    CERTIFICATE OF SERVICE



I hereby certify that on or before 03/05/2024, a true and correct copy of the foregoing Chapter 13 Trustee’s Motion to
Dismiss was served on the parties listed below in the manner shown below.

By First Class Mail:



DONNATA EVAN FORD
12727 LAUREL FALLS DR.
HOUSTON, TX 77014
                Case 24-30222 Document 23 Filed in TXSB on 03/05/24 Page 3 of 3


                                IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION



In Re:      Donnata Evan Ford                                §                    Case No: 24-30222-H3-13
                                                             §
                                                             §
Debtor(s)                                                    §                    Chapter 13

                                                ORDER OF DISMISSAL

    1. On the chapter 13 trustee's motion, this case is dismissed. The Court's reasons for dismissal were stated
on the record in open court.

    2. The deadline for filing an application for an administrative expense in this case is set at 21 days following
the entry of this Order. The deadline for filing a motion for allowance of a claim arising under § 507(b) in this
case is also set at 21 days following entry of this order.

    3. If an application for allowance of professional fees and expenses has previously been filed in this case,
the applicant is not required to file a new application for allowance of an administrative expense under § 503 if the
new application only seeks allowance of the same professional fees and expenses previously requested.

   4. Any prior order directing an employer or other person to pay funds to the chapter 13 trustee is terminated.
Any prior order authorizing an ACH or other means of electronic payment is terminated.

    5. The Court finds good cause to direct the payment of funds held by the chapter 13 trustee at the time of
entry of this Order as follows:

   (a) First, the balance on hand in the Emergency Savings Fund will be paid to the Debtor(s);

   (b) Second, to any unpaid chapter 13 trustee's statutory compensation;

   (c) Third, the balance on hand in the Reserves for ad valorem taxes, to the holder of the claim secured by the
senior security interest against the property for which the Reserves were established;

   (d) Fourth, the balance in any other Reserve account to the Debtor;

    (e) Fifth, to any unpaid payments mandated to be made by the Trustee under a prior Court order, including but
not limited to any mandated adequate protection payments;

   (f) Sixth, to pay any unpaid fees to Debtor(s)' attorneys and to reserve for any filed applications for which no
order has yet been entered; and

   (g) Seventh, to the Debtor(s).

   Any party−in−interest objecting to the "for cause" distributions under this paragraph must file an objection within
14 days of entry of this Order. The chapter 13 trustee will defer making distributions under this paragraph until the
next ordinary disbursement date following the later of (i) 22 days following entry of this Order; or (ii) entry of an
order resolving any timely filed objection.
